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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.
                                                           ORDER
JOSUE ZAMORA QUINTERO,

                  Defendant.

       The defendant has filed a motion to reduce sentence (filing 451) seeking
relief under U.S.S.G. Amend. 782. The defendant's motion will be held in
abeyance pursuant to General Order No. 2014-09, awaiting the completion of
a retroactive sentencing worksheet by the United States Probation Office.
The Court understands that the defendant is, no doubt, anxious to learn
whether his sentence will be reduced, and by how many months. But General
Order No. 2014-09 was entered in no less than 605 different cases in
Nebraska, so some patience may be required.
       The defendant has also filed a motion for appointment of counsel (filing
452). The Court will deny the motion because it is moot: the Federal Public
Defender has already been appointed to represent the defendant with respect
to any sentence reduction available pursuant to Amendment 782 to the
Sentencing Guidelines. See, General Order No. 2014-06; General Order No.
2014-09. Pursuant to General Order No. 2014-09, the Federal Public
Defender will file a motion when the matter is ready for progression.

      IT IS ORDERED:

      1.    The defendant's motion to reduce sentence (filing 451) will
            be held in abeyance.

      2.    The defendant's motion for appointment of counsel (filing
            452) is denied as moot.

      3.    The Clerk of the Court shall give notice of this order to the
            defendant, the Supervisory United States Probation Officer
            who handles presentence reports, and all counsel.
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      Dated this 9th day of October, 2015.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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